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                                                                      Friday, 17 June, 2022 11:25:56 AM
                                                                           Clerk, U.S. District Court, ILCD




                                        URBANA


Judge Bruce


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